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                                          United States District Court
                                           Northern District of Texas Dallas Division

UNITED STATES OF AMERICA                                                 §     JUDGMENT IN A CRIMINAL CASE
                                                                         §
v.                                                                       §
                                                                         §     Case Number: 3:15-CR-00411-K (01)
AMECHI COLVIS AMUEGBUNAM                                                 §     USM Number: 59052-037
                                                                         §
                                                                         §     Ezekiel Tyson
                                                                         §     Defendant’s Attorney

THE DEFENDANT:
☐ pleaded guilty to count(s)
     pleaded guilty to count(s) before a U.S. Magistrate     To the One Count Superseding Information, filed on February 23,
☒ Judge, which was accepted by the court.                    2017.
     pleaded nolo contendere to count(s) which was
☐ accepted by the court
     was found guilty on count(s) after a plea of not
☐ guilty

The defendant is adjudicated guilty of these offenses:

Title & Section / Nature of Offense                                                                   Offense Ended          Count

18 U.S.C. § 371[18 U.S.C. § 1343] -   Conspiracy to Commit Wire Fraud                                 04/24/2015             1ss




The defendant is sentenced as provided in pages 2 through 4 of this judgment. The sentence is imposed pursuant to the Sentencing
Reform Act of 1984.

☐ The defendant has been found not guilty on count(s)
☒ The Original Indictment, filed on September 23, 2015, is dismissed on the motion of the United States.

         It is ordered that the defendant must notify the United States attorney for this district within 30 days of any change of name,
residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If
ordered to pay restitution, the defendant must notify the court and United States attorney of material changes in economic
circumstances.

                                                                  August 23, 2017
                                                                  Date of Imposition of Judgment




                                                                  Signature of Judge

                                                                  Ed Kinkeade, United States District Judge
                                                                  Name and Title of Judge

                                                                  August 23, 2017
                                                                  Date
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DEFENDANT:                AMECHI COLVIS AMUEGBUNAM
CASE NUMBER:              3:15-CR-00411-K (01)

                                                       IMPRISONMENT

The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a total term of:

FORTY-SIX (46) Months. No term of Supervised Release Ordered.

The defendant shall receive credit for time served in federal custody, prior to sentencing.

☒ The court makes the following recommendations to the Bureau of Prisons:
    The Court recommends that the defendant be allowed to serve his sentence at FCI Seagoville,
    Seagoville, Texas.


☒ The defendant is remanded to the custody of the United States Marshal.
☐ The defendant shall surrender to the United States Marshal for this district:

        ☐ at                                      ☐     a.m.       ☐     p.m.      on

        ☐ as notified by the United States Marshal.

☐ The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:

        ☐ before 2 p.m. on
        ☐ as notified by the United States Marshal.
        ☐ as notified by the Probation or Pretrial Services Office.


                                                           RETURN
I have executed this judgment as follows:


        Defendant delivered on                                    to


at                                     , with a certified copy of this judgment.




                                                                                           UNITED STATES MARSHAL

                                                                                                    By
                                                                                        DEPUTY UNITED STATES MARSHAL
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DEFENDANT:                   AMECHI COLVIS AMUEGBUNAM
CASE NUMBER:                 3:15-CR-00411-K (01)

                                        CRIMINAL MONETARY PENALTIES
         The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6.

                                             Assessment        JVTA Assessment*                                Fine                    Restitution
TOTALS                                          $100.00                    $.00                                $.00                   $615,555.12

☐ The determination of restitution is deferred until      An Amended Judgment in a Criminal Case (AO245C) will be entered
      after such determination.
☐     The defendant must make restitution (including community restitution) to the following payees in the amount listed below.

         If the defendant makes a partial payment, each payee shall receive an approximately proportioned payment. However, pursuant to 18
         U.S.C. § 3664(i), all nonfederal victims must be paid before the United States is paid.

Restitution of $615,555.12 to:

         ENERGY FUTURE HOLDING (NOW VISTRA ENERGY)
         $98,550.00

         ENERGY TRANSFER PARTNERS
         $370,455.12

         GENBAND
         $146,550.00




☐ Restitution amount ordered pursuant to plea agreement $
☐ The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full before
      the fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 3612(f). All of the payment options on Sheet 6 may be
      subject to penalties for delinquency and default, pursuant to 18 U.S.C. § 3612(g).
☒     The court determined that the defendant does not have the ability to pay interest and it is ordered that:
      ☒ the interest requirement is waived for the          ☐ fine                               ☒ restitution
      ☐ the interest requirement for the                        ☐ fine                                ☐      restitution is modified as follows:

* Justice for Victims of Trafficking Act of 2015, Pub. L. No. 114-22
** Findings for the total amount of losses are required under Chapters 109A, 110, 110A, and 113A of Title 18 for offenses committed on or after
September 13, 1994, but before April 23, 1996.
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DEFENDANT:                    AMECHI COLVIS AMUEGBUNAM
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                                                  SCHEDULE OF PAYMENTS
Having assessed the defendant’s ability to pay, payment of the total criminal monetary penalties is due as follows:

A     ☐ Lump sum payments of $                                              due immediately, balance due

      ☐ not later than                                          , or

      ☐ in accordance                     ☐       C,         ☐         D,         ☐     E, or        ☐      F below; or

B     ☒ Payment to begin immediately (may be combined with                        ☐     C,           ☐      D, or              ☐       F below); or

C     ☐ Payment in equal                           (e.g., weekly, monthly, quarterly) installments of $                        over a period of
                                  (e.g., months or years), to commence                    (e.g., 30 or 60 days) after the date of this judgment; or

D     ☐ Payment in equal 20 (e.g., weekly, monthly, quarterly) installments of $                                over a period of
                                (e.g., months or years), to commence                      (e.g., 30 or 60 days) after release from imprisonment
             to a term of supervision; or

E     ☐ Payment during the term of supervised release will commence within                        (e.g., 30 or 60 days) after release
             from imprisonment. The court will set the payment plan based on an assessment of the defendant’s ability to pay at that
             time; or

F     ☒ Special instructions regarding the payment of criminal monetary penalties:
             It is ordered that the Defendant shall pay to the United States a special assessment of $100.00 for Count 1ss which
             shall be due immediately. Said special assessment shall be paid to the Clerk, U.S. District Court.

Unless the court has expressly ordered otherwise, if this judgment imposes imprisonment, payment of criminal monetary penalties is
due during imprisonment. All criminal monetary penalties, except those payments made through the Federal Bureau of Prisons’
Inmate Financial Responsibility Program, are made to the clerk of the court.

The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.

☐ Joint and Several
      See above for Defendant and Co-Defendant Names and Case Numbers (including defendant number), Total Amount, Joint and
      Several Amount, and corresponding payee, if appropriate.

      ☐ Defendant shall receive credit on his restitution obligation for recovery from other defendants who contributed to the same
      loss that gave rise to defendant's restitution obligation.
☐ The defendant shall pay the cost of prosecution.
☐ The defendant shall pay the following court cost(s):
☐ The defendant shall forfeit the defendant’s interest in the following property to the United States:



Payments shall be applied in the following order: (1) assessment, (2) restitution principal, (3) restitution interest, (4) fine principal,
(5) fine interest, (6) community restitution, (7) JVTA Assessment, (8) penalties, and (9) costs, including cost of prosecution and court costs.
